        CASE 0:18-cv-01596-DWF-TNL Doc. 110-1 Filed 01/27/23 Page 1 of 1


                                   UNITED STATES DISTRICT COURT
                                                     District of Minnesota

Warren E. Burger           U.S. Courthouse              Gerald W. Heaney            Edward J. Devitt U.S.
Federal                    300 South Fourth Street      Federal Building and        Courthouse and Federal
Building and U.S.          Suite 202                    U.S. Courthouse             Building
Courthouse                 Minneapolis, MN 55415        and Customhouse             118 South Mill Street,
316 North Robert Street,   (612) 664-5000               515 West First Street,      Suite 212
Suite 100                                               Suite 417                   Fergus Falls, MN 56537
St. Paul, MN 55101                                      Duluth, MN 55802            (218) 739-5758
(651) 848-1100                                          (218) 529-3500




                                         CIVIL NOTICE
The appeal filing fee is $505.00. If you are indigent, you can apply for leave to proceed in forma
pauperis, ("IFP").

The purpose of this notice is to summarize the time limits for filing with the District Court Clerk's Office
a Notice of Appeal to the Eighth Circuit Court of Appeals or the Federal Circuit Court of Appeals (when
applicable) from a final decision of the District Court in a civil case.

        This is a summary only. For specific information on the time limits for filing a Notice of
        Appeal, review the applicable federal civil and appellate procedure rules and statutes.

Rule 4(a) of the Federal Rules of Appellate Procedure (Fed. R. App. P.) requires that a Notice of Appeal
be filed within:

        1.      Thirty days (60 days if the United States is a party) after the date of "entry of the
                judgment or order appealed from;" or

        2.      Thirty days (60 days if the United States is a party) after the date of entry of an order
                denying a timely motion for a new trial under Fed. R. Civ. P. 59; or

        3.      Thirty days (60 days if the United States is a party) after the date of entry of an order
                granting or denying a timely motion for judgment under Fed. R. Civ. P. 50(b), to amend
                or make additional findings of fact under Fed. R. Civ. P. 52(b), and/or to alter or amend
                the judgment under Fed. R. Civ. P. 59; or

        4.      Fourteen days after the date on which a previously timely Notice of Appeal was filed.

If a Notice of Appeal is not timely filed, a party in a civil case can move the District Court pursuant to
Fed. R. App. P. 4(a)(5) to extend the time for filing a Notice of Appeal. This motion must be filed no
later than 30 days after the period for filing a Notice of Appeal expires. If the motion is filed after the
period for filing a Notice of Appeal expires, the party bringing the motion must give the opposing parties
notice of it. The District Court may grant the motion, but only if excusable neglect or good cause is
shown for failing to file a timely Notice of Appeal.
